FILED
CHARLOTTE, NC

UNITED STATES DISTRICT COURT MAR ~5 2020
WESTERN DISTRICT OF NORTH CAROLINA
STATESVILLE DIVISION US DISTRICT COURT

WESTERN DISTRICT OF NC

UNITED STATES OF AMERICA, DOCKET NO. 5:19-CR-022-MOC

Vv.
PROPOSED VERDICT FORM

(2) JOHN D. GRAY, and

)
)
(1) GREG E. LINDBERG, )
)
(3) JOHN V. PALERMO, JR. )

)

 

We, the jury, return the following unanimous Verdict as to the charges contained in the
Bill of Indictment:

As to Count One, we, the jury, find:

Defendant Greg E. Lindberg: SM
GUILTY: NOT GUILTY:

Defendant John D. Gray: LS
GUILTY: NOT GUILTY:

Defendant John V. Palmero, Jr.: SO

GUILTY: NOT GUILTY:

As to Count Two, we, the jury, find:

Defendant Greg E. Lindberg: S/
GUILTY: NOT GUILTY:

Defendant John D. Gray:

GUILTY: NOT GUILTY:

Defendant John V. Palmero, Jr.: SO
GUILTY: NOT GUILTY:

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So say we all, this the | ) day of {Y ure , 2020.

Signed:

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